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7    CORPORATION, individually and as
     successor by merger to GLEN L.
8    MARTIN COMPANY, AMERICAN-
     MARIETTA CORPORATION,
9    MARTIN MARIETTA and THE
     LOCKHEED CORPORATION
10
                            UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
12

13   ARTHUR ROSENGREN,                            CASE NO. 2:19-cv-09064-SVW-E
14                      Plaintiff,                DEFENDANT LOCKHEED MARTIN
                                                  CORPORATION’S NOTICE OF
15         v.                                     JOINDER IN REMOVAL OF ACTION
                                                  UNDER 28 U.S.C. §1442(a) (FEDERAL
16   CURTISS-WRIGHT                               OFFICER)
     CORPORATION, et al.,
17
                        Defendants.
18

19         PLEASE TAKE NOTICE that Defendant Lockheed Martin Corporation, sued
20   individually and as successor by merger to Glen L. Martin Company, American-
21   Marietta Corporation, Martin Marietta, and the Lockheed Corporation (“Lockheed
22   Martin”), hereby joins in Defendant United Technologies Corporation’s (“UTC”)
23   removal of the above-entitled action from the Superior Court of California for the
24   County of Los Angeles, to the United States District Court for the Central District of
25   California pursuant to 28 U.S.C. §1442(a).      This joinder is based on Lockheed
26   Martin’s separate and independent right of removal under the federal officer removal
27   statute. In support, Lockheed Martin offers the following:
28   //

          DEFENDANT LOCKHEED MARTIN CORPORATION’S NOTICE OF JOINDER IN REMOVAL OF
                        ACTION UNDER 28 U.S.C. §1442(a) (FEDERAL OFFICER)
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1                                I.     Procedural History
2          1.     On or about October 3, 2019 Plaintiff Arthur Rosengren (“Plaintiff” or
3    “Mr. Rosengren”) filed a Complaint in the Superior Court of California for the County
4    of Los Angeles entitled Arthur Rosengren v. Curtiss-Wright Corporation, et al., Case
5    No. 19STCV35225 (“Complaint”).            The Complaint names multiple defendants,
6    including Lockheed Martin, and alleges causes of action against Lockheed Martin for
7    negligence, breach of express and implied warranties, and strict liability.             The
8    Complaint alleges, in part, that Mr. Rosengren “. . . was diagnosed with mesothelioma
9    on or about May, 2019 . . .” as a result of “. . . asbestos exposure to the products of . . .
10   defendants [,]” including Lockheed Martin. (Id. at p. 21, ¶ 9.) Plaintiff served
11   Lockheed Martin on or about October 9, 2019. A true and correct copy of the
12   Complaint and Summons is attached hereto as Exhibit 1.
13         2.     Plaintiff concurrently filed a Preliminary Fact Sheet (“Fact Sheet”)
14   indicating that the Lockheed Martin products allegedly at issue are “aircraft” while Mr.
15   Rosengren was employed by the United States Naval Reserves from 1949 to 1953.
16   (Fact Sheet at pp. 44, 46.) A true and correct copy of the Fact Sheet is attached hereto
17   as Exhibit 2.
18         3.     At all times, including Mr. Rosengren’s alleged service in the United
19   States Naval Reserves, any and all aircraft supplied by Lockheed Martin to the United
20   States Navy were manufactured for the United States Military in accordance with
21   detailed specifications approved by the United States Government and under the direct
22   supervision, control, orders, and directives of a federal officer acting under color of
23   federal office.
24         4.     This Notice of Removal is being filed within 30 days of the time
25   Lockheed Martin first received notice, via Plaintiff’s Complaint and Fact Sheet served
26   on or about October 9, 2019. Accordingly, this removal is filed within the time period
27   prescribed by law. See 28 U.S.C. §1446(b).
28

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         DEFENDANT LOCKHEED MARTIN CORPORATION’S NOTICE OF JOINDER IN REMOVAL OF
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1            5.       This action is one which may be removed to this Court by Lockheed
2    Martin on the grounds of federal officer removal jurisdiction pursuant to 28 U.S.C.
3    §1442(a).
4     II.         Federal Officer Removal Is Appropriate Under 28 U.S.C. §1442(a)
5            8.       Removal is proper under 28 U.S.C. § 1442(a) when: (a) the defendant
6    seeking removal demonstrates that it is a “person” within the meaning of the statute;
7    (b) the defendant demonstrates a causal nexus between the defendant’s actions, taken
8    pursuant to a federal officer’s directions and under color of federal office, and the
9    plaintiff’s claims; and (c) the defendant asserts a “colorable federal defense.” Mesa v.
10   California, 489 U.S. 121, 124-25, 134-35 (1989); see also Durham v. Lockheed Martin
11   Corp., 445 F.3d. 1247, 1251 (9th. Cir. 2006).
12           9.       Lockheed Martin is a “person” within the meaning of 28 U.S.C. §
13   1442(a). See Goncalves By and Through Goncalve v. Randy Children’s Hospital San
14   Diego, 865 F.3d 1237, 1244 (9th Cir. 2017) (holding corporate entities qualify as
15   “persons” under § 1442(a)(1)); Fung v. Abex Corp., 816 F. Supp. 569, 572 (N.D. Cal.
16   1992).
17           10.      Plaintiff’s claims against Lockheed Martin are based, in whole or in part,
18   on Mr. Rosengren’s alleged exposure to asbestos from alleged work on or around
19   Lockheed Martin-manufactured military aircraft during his service in the United States
20   Navy from 1949 to 1953. To the extent that the design or manufacture of such aircraft
21   included asbestos-containing components, the United States Government approved
22   reasonably precise specifications for such components. The United States Government
23   also approved reasonably precise specifications as to the existence and content of
24   warnings associated with any such aircraft. Any decision regarding asbestos in such
25   aircraft or the component parts thereof was under the full control and discretion of the
26   United States Government. See Leite v. Crane Co., 479 F.3d 1117, 1123 (9th Cir.
27   2014). The United States Government, likewise, controlled the content of written
28   materials and warnings associated with such aircraft.
                                                    3
            DEFENDANT LOCKHEED MARTIN CORPORATION’S NOTICE OF JOINDER IN REMOVAL OF
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1          11.    Lockheed Martin is entitled to federal officer removal under 28 U.S.C.
2    §1442(a) based upon the federal defense of derivative sovereign immunity as set forth
3    in Yearsley v. W.A. Ross Construction Co., 309 U.S. 18 (1940); see also Campbell-
4    Ewald Co. v. Gomez, 136 S.Ct. 663 (2016). Yearsley established that a government
5    contractor, performing at the direction and authorization of a government officer, is
6    immune from suit based upon performance of the contract in carrying out a
7    government function. Id. Here, the Yearsley doctrine is satisfied because Lockheed
8    Martin-assembled military aircraft were produced and sold pursuant to validly
9    conferred authority and Lockheed Martin’s conduct was within the bounds of that
10   authority. Indeed, if the government had manufactured such aircraft itself, it would be
11   immune from suit; that immunity is extended to Lockheed Martin, which, by virtue of
12   its contractually conferred authority, stepped into the government’s shoes.
13         12.    Lockheed Martin is also entitled to federal officer removal under 28
14   U.S.C. § 1442(a) based upon the separate and independent government contractor
15   federal defense. Boyle v. United Technologies Corp., 487 U.S. 500 (1988); Fung, 816
16   F. Supp. at 573. Boyle establishes that a government contractor is not liable for
17   injuries caused by design defects in equipment when the contractor builds such
18   equipment    according     to   reasonably       precise   government-approved   design
19   specifications. Here, the government contractor defense is satisfied because the design
20   specifications for military aircraft assembled by Lockheed Martin were government-
21   approved, the aircraft conformed to those specifications, and Lockheed Martin did not
22   fail to warn the government of any dangers known to Lockheed Martin and unknown
23   to the government. The government contractor defense also applies to claims of
24   failure to warn. See Leite, 479 F.3d at 1123.
25                            III.   Procedural Compliance
26         13.    Lockheed Martin satisfies the requirements for removal under 28 U.S.C. §
27   1442(a) and, therefore, is entitled to remove this entire action. Joinder of the other
28   defendants in this action is not necessary to remove under 28 U.S.C. § 1442(a). Ely
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         DEFENDANT LOCKHEED MARTIN CORPORATION’S NOTICE OF JOINDER IN REMOVAL OF
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1    Valley Mines, Inc. v. Hartford Acc. & Indem. Co., 644 F. 2d 1310, 1314 (9th Cir.
2    1981).
3          14.    Written notice of this Joinder in Removal is being given to Plaintiff by
4    service hereof. Lockheed Martin is informed and believes that Defendant UTC has
5    filed a copy of its Notice of Removal with the Superior Court of California for the
6    County of Los Angeles. (See UTC’s Notice of Removal, ECF No. 1, at ¶ 20.)
7                                   IV.    Conclusion
8          15.    Removal of this action is proper under 28 U.S.C. § 1442. Plaintiff’s
9    Complaint is a civil action brought in state court and this Court has original
10   jurisdiction over the subject matter under 28 U.S.C. §1442(a)(1) because Lockheed
11   Martin was acting as an officer or agent of the United States.
12         16.    WHEREFORE, Lockheed Martin Corporation requests that this action
13   proceed in this Court as a properly removed action.
14

15   Dated: November 7, 2019                Respectfully submitted,
16                                          GLAZIER YEE LLP
17

18                                          By: __/s/ Guy P. Glazier
                                                   Guy P. Glazier
19                                                 Deborah M. Parker
20                                                   Attorneys for Defendant,
                                                     LOCKHEED MARTIN
21                                                   CORPORATION, sued individually and
                                                     as successor by merger to GLEN L.
22                                                   MARTIN COMPANY, AMERICAN-
                                                     MARIETTA CORPORATION,
23                                                   MARTIN MARIETTA and THE
                                                     LOCKHEED CORPORATION
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         DEFENDANT LOCKHEED MARTIN CORPORATION’S NOTICE OF JOINDER IN REMOVAL OF
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1                                CERTIFICATE OF SERVICE
2

3
           I, the undersigned, do hereby certify that on the below noted date, the

4
     aforementioned document was electronically filed with the Clerk of the Court of the

5
     United States District Court, Central District of California using the ECF system which

6
     sent notification of such filing to all counsel of record. This document is now

7
     available for viewing and downloading from the ECF system.

8
     Dated: November 7, 2019
9                                           GLAZIER YEE LLP

10                                          /s/ Guy P. Glazier
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14                                          Attorneys for Defendant
                                            LOCKHEED MARTIN CORPORATION
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         DEFENDANT LOCKHEED MARTIN CORPORATION’S NOTICE OF JOINDER IN REMOVAL OF
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